                                                                         Case 2:19-cv-08024-ODW-JC Document 17 Filed 11/17/19 Page 1 of 2 Page ID #:152



                                                                                  1 LAW OFFICES OF CHRISTOPHER G. HOOK
                                                                                    Christopher G. Hook (State Bar No. 255080)
                                                                                  2 4264 Overland Avenue
                                                                                    Culver City, California 90230
                                                                                  3 Phone: (310) 839-5179
                                                                                    E-mail: chris@cghlaw.com
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                                                                                  5 Attorney for Plaintiffs

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                                                                                  8                            UNITED STATES DISTRICT COURT

                                                                                  9                           CENTRAL DISTRICT OF CALIFORNIA

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                                                                                 11 ALAN BAKER,                                      CASE NO. 2:19-cv-08024
                                                                                    LINDA B. OLIVER,
LAW OFFICES OF CHRISTOPHER G. HOOK




                                                                                 12                                                  STIPULATION TO FEDERAL
                                     TELEPHONE (310) 839-5179 CHRIS@CGHLAW.COM




                                                                                         Plaintiffs,                                 JURISDICTION AND DISMISSAL OF
                                         CULVER CITY, CALIFORNIA 90230




                                                                                 13                                                  EDWARD CARRASCO WITHOUT
                                             4264 OVERLAND AVENUE




                                                                                         vs.                                         PREJUDICE
                                                                                 14
                                                   Attorney at Law




                                                                                    ALLSTATE INSURANCE COMPANY,
                                                                                 15 EDWARD CARRASCO, and
                                                                                    DOES 1 through 10, inclusive,
                                                                                 16
                                                                                         Defendants.
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                                                                                 19         Plaintiffs ALAN BAKER and LINDA B. OLIVER hereby:
                                                                                 20         1. Agree to dismiss their claims against EDWARD CARRASCO without prejudice;
                                                                                 21         2. Stipulate to the jurisdiction of the Federal Court, Central District of California
                                                                                 22 on the basis of diversity jurisdiction.

                                                                                 23         The reason for this stipulation is that the undersigned took the initial session of
                                                                                 24 EDWARD CARRASCO on November 15, 2019, and the initial session of his supervisor

                                                                                 25 ROBERT ROMERO on November 13, 2019. Both depositions were “paused” at the

                                                                                 26 request of the witnesses after approximately three hours of testimony, to be continued

                                                                                 27 within sixty (60) days. Strong evidence in support of a bad faith claim against ALLSTATE

                                                                                 28 was recorded.
                                                                                                                                -1-
                                                                                                               STIPULATION TO FEDERAL JURISDICTION
                                                                         Case 2:19-cv-08024-ODW-JC Document 17 Filed 11/17/19 Page 2 of 2 Page ID #:153



                                                                                  1         At this time the undersigned is informed and believes the most valuable part of

                                                                                  2 Plaintiffs’ claim is for punitive damages against ALLSTATE INSURANCE COMPANY,

                                                                                  3 in an amount which is difficult to estimate due to the Defendant’s wealth, the true depth

                                                                                  4 and cause of misconduct in this case and whether it happened to others, and

                                                                                  5 ALLSTATE’S prior history of having to pay such awards, which is unknown to the

                                                                                  6 undersigned at this time, and potentially best determined in Federal Court.

                                                                                  7         Maintaining jurisdiction in this Court is in the interest of justice because discovery

                                                                                  8 has been exchanged under this case number, over six thousand pages, and the two most

                                                                                  9 important depositions have already begun. Plaintiffs do not wish to be sent back to State

                                                                                 10 court to have to start at “square one” in a slower justice system with less resources.

                                                                                 11         For the reasons set forth above, Plaintiffs hereby dismiss their claims against Mr.
LAW OFFICES OF CHRISTOPHER G. HOOK




                                                                                 12 CARRASCO without prejudice and stipulate to proceeding against ALLSTATE
                                     TELEPHONE (310) 839-5179 CHRIS@CGHLAW.COM
                                         CULVER CITY, CALIFORNIA 90230




                                                                                 13 INSURANCE COMPANY in this Court on a single cause of action of Bad Faith Insurance
                                             4264 OVERLAND AVENUE




                                                                                 14 Practices.
                                                   Attorney at Law




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                                                                                 16 DATED: November 17, 2019                LAW OFFICES OF CHRISTOPHER G. HOOK

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                                                                                                                            By:     /s/ Christopher    G. Hook
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                                                                                                                                   CHRISTOPHER G. HOOK
                                                                                 20
                                                                                                                                   Attorney for Plaintiffs
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                                                                                                               STIPULATION TO FEDERAL JURISDICTION
